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                        UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                      __________DIVISION
                                     SAN ANTONIO
     IN RE:
                                                                           -------

            KRISJENN RANCH, LLC et al                            Case No: 20-50805-rbk
                                                                 Chapter   ___




                                                                 Chapter ________
                                                                          11

                                           ORDER

                                               ___               ________           _,
           BE IT REMEMBERED that there was presented to the Court the motion for

                                     Lynne B. Frank
    Admission Pro Hac Vice filed by ____________________ ("Applicant")
     _____                                                           _________




    and the Court, having reviewed the motion, has decided it is meritorious. ACCORDINGLY,


           IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and
                                            _______


    Applicant may appear on behalf of _______William D. Kuhlmann, Jr. __ in the above case.
                                        and Albert, Neely & Kuhlmann, L.L.P.
           This order shall not be considered admission to practice generally before this Court or


    the U.S. District Court for the Western District of Texas.
                                             ####                     B
